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 1                                                            The Honorable Richard A. Jones
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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 7

 8    UNITED STATES OF AMERICA,                       NO. CR18-131-RAJ
 9                      Plaintiff,                    ORDER GRANTING DEFENDANT’S
                                                      UNOPPOSED MOTION TO EXTEND
10            v.                                      DEADLINE TO FILE REPLY BRIEF
11    JEROME RAY WILSON,
12                      Defendant.
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15         THIS MATTER comes before the Court upon Defendant Jerome Ray Wilson’s
     Unopposed Motion to Extend the Time to File Reply to Government’s Response to
16
     Defendant’s Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582 (c)(1)(A)(i).
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     Having considered the motion, and finding good cause, the Court hereby:
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           ORDERS that the motion (Dkt. #1509) is GRANTED. The deadline for
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     Defendant to file his reply brief is extended to November 13, 2020.
20
           DATED this 9th day of November, 2020.
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23
                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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     ORDER GRANTING MOTION TO EXTEND
     DEADLINE TO FILE REPLY BRIEF - 1
     UNITED STATES v. WILSON
     CR18-131RAJ
